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CO 109A - Rev 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

 

Civil/Criminal No.. _ 19-CR-00018 (ABJ)

FILED
NOV 14 2019

Clerk, U.S. District & Bankruptcy
NOTE FROM JURY Courts for the District of Columbia

VS.

ROGER STONE, JR.

 

 

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